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                       IN THE UNTED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
SHAWN HORNE                           :
          th
1829 W. 4 Street                      :
Chester, PA 19013                     :    CIVIL ACTION
                                      :
              Plaintiff,              :    No.:
                                      :
       v.                             :    JURY TRIAL DEMANDED
                                      :
ADVANCE AUTO PARTS, INC.              :
d/b/a Advance Auto Parts              :
1781 Wilmington Pike                  :
Glen Mills, PA 19342                  :
                                      :
              Defendant.              :
____________________________________:

                                     CIVIL ACTION COMPLAINT

        Shawn Horne (hereinafter referred to as “Plaintiff,” unless indicated otherwise) by and

through his undersigned counsel, hereby avers as follows:

                                             INTRODUCTION

        1.       Plaintiff has initiated this action to redress violations by Advance Auto Parts, Inc.

(hereinafter “Defendant”) of Section 1981 of the Civil Rights Act of 1866 (“Section 1981” – 42

U.S.C. § 1981), Title VII of the Civil Rights Act of 1964 (“Title VII” – 42 U.S.C. §§ 200d et

seq.) and the Pennsylvania Human Relations Act (“PHRA”).1 As a direct consequence of

Defendant’s unlawful actions, Plaintiff seeks damages as set forth herein.




1
  Plaintiff intends to amend his instant lawsuit to include the same claims under the PHRA once his administrative
remedies are fully exhausted with the Pennsylvania Human Relations Commission.
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                                   JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and

seeks redress for violations of federal laws.

        3.       This Court may properly assert personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.       Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this

district because Defendant is deemed to reside where it is subjected to personal jurisdiction,

rendering Defendant a resident of the Eastern District of Pennsylvania.

        5.       Plaintiff is proceeding herein (under Title VII) and has properly exhausted his

administrative remedies by timely filing a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”) and by filing the instant lawsuit within ninety (90) days of

receiving a notice of dismissal and/or right to sue letter from the EEOC.

                                                PARTIES

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult individual, with an address as set forth in the caption.

        8.       Defendant is a nationwide automotive aftermarket parts provider that owns and

operates the location at which Plaintiff physically worked.




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        9.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the Defendant.

                                   FACTUAL BACKGROUND

        10.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.      Plaintiff is a black (African-American) male.

        12.      Plaintiff was hired by Defendant in or about 2017.

        13.      At all times during his employment with Defendant, Plaintiff was employed with

Defendant in an in-store sales capacity.

        14.      Plaintiff remained employed with Defendant until on or about March 15, 2020

(for a period of approximately three (3) years) when he was unlawfully terminated.

        15.      Throughout his employment with Defendant, Plaintiff was a hard-working

employee who performed his job well; was given positive feedback; was a recipient of good

reviews; and received promotions.

        16.      In connection with one such promotion, Plaintiff was transferred to the above-

captioned Glen Mills location, in or about mid-2019.

        17.      Plaintiff was the only African-American who worked in the Glen Mills location.

Plaintiff was assigned to work in the front of the store.

        18.      Jacob Perritt was the Commercial Manager who worked in the back, who was

responsible for coordinating with third-party dealerships.




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       19.     Perritt made offensive racial comments or jokes often, sometimes several times a

week, which Plaintiff found to be very offensive. By way of example only and not intended to be

exhaustive, Perritt:

       (a) regularly commented and made jokes about the cocoa-butter Plaintiff and

       other African Americans used for their skin;

       (b) repeatedly brought up an episode of a television show where the character

       Archie Bunker (Caucasian) did not want the character George Jefferson (African-

       American) moving into his “white neighborhood”;

       (c) told Plaintiff that one of the cars Plaintiff drive was a “Black person’s car” and

       referred to Plaintiff’s other car as a “hood car”;

       (d) made other related racist comments, like “Black people drive ‘Crown Vics’”;

       (e) referred to a certain type of cigarette as the kind “only Black people smoke”;

       (f) stated, “since people hate Mondays, I’m going to start referring to Black

       people as ‘Mondays,”; and

       (g) stated that the United States started to have problems once the schools became

       integrated.

       20.     Because the Glen Mills location lacked a general manager and Plaintiff feared

retaliation, Plaintiff initially tolerated this discriminatory and harassing environment.

       21.     In Plaintiff’s last approximate three (3) months of work, a General Manager

(Patricia Zindel) was hired and placed to work in the Glen Mills location.

       22.     In this approximate three-month period of time, Plaintiff spoke with Zindel at

least three to four times, and most recently in late February of 2020. During these conversations,

Plaintiff explained among other things that he: (a) was continually offended by Perritt’s racial



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comments, which were not decreasing; and (b) felt that Zindel had been unfair to Plaintiff on

account of his race, in the way that she spoke to and treated him.

        23.      On or about March 10, 2020, Plaintiff was informed that he was required to stay

out of work, only to be later terminated on or about March 15, 2020 by the District Manager,

James Breslin.

        24.      Plaintiff was informed that his termination was allegedly due to his “attitude.”

However, Plaintiff had not received any prior progressive discipline; this was contrary to how

much he was liked by customers and as reflected by prior management; and Plaintiff was

terminated very shortly after expressing concerns of racial mistreatment.

        25.      Perritt was not terminated despite Defendant’s policy of alleged zero tolerance of

racial discrimination; Zindel did nothing to address Plaintiff’s complaints or to prevent further

racial mistreatment against Plaintiff; and then attempted to justify Plaintiff’s termination on

account of his alleged “attitude,” shortly after he complained about race discrimination.

        26.      Plaintiff believes and therefore avers that he was subjected to a hostile work

environment and terminated because of his race and/or complaints of race discrimination.

                                          COUNT I
                            Violations of 42 U.S.C. Section 1981
        ([1] Race Discrimination; [2] Retaliation; and [3] Hostile Work Environment)

        27.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        28.      During Plaintiff’s employment with Defendant, he was subjected to

discrimination and a hostile work environment through disparate and demeaning treatment,

selective enforcement of policies, and targeted harassment because of his race and complaints

about racial discrimination.



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        29.    Plaintiff believes and therefore avers that he was suspended and ultimately

terminated from his employment with Defendant because of his race.

        30.    These actions as aforesaid constitute unlawful discrimination and a hostile work

environment under Section 1981.

                                         COUNT II
                                    Violations of Title VII
        ([1] Race Discrimination; [2] Retaliation; and [3] Hostile Work Environment)

        31.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        32.    Plaintiff repeats, reasserts and realleges each and every allegation of Count I of

this Complaint, supra, as they constitute identical violations of Title VII.

        33.    These actions as aforesaid constitute violations of Title VII.

        WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

        A.     Defendant is to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

        B.     Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendant’s illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement and seniority;

        C.     Plaintiff is to be awarded punitive damages as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;




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       D.       Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain,

suffering and humiliation);

       E.       Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorneys’ fees as provided by applicable federal and state law; and

       F.       Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and

       G.       Plaintiff’s claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

                                              Respectfully submitted,

                                              KARPF, KARPF & CERUTTI, P.C.

                                              _______________________________
                                              Ari R. Karpf, Esquire
                                              Adam C. Lease, Esquire
                                              3331 Street Road
                                              Two Greenwood Square, Suite 128
                                              Bensalem, PA 19020
                                              (215) 639-0801
                                              Attorneys for Plaintiff

Date: October 12, 2020




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                                                       STATES DISTRICT    10/12/20 Page 9 of 10
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       NUOV=tK=QíÜ=píêÉÉíI=`ÜÉëíÉêI=m^=NVMNP
Address of Plaintiff: ______________________________________________________________________________________________

                       NTUN=táäãáåÖíçå=máâÉI=däÉå=jáääëI=m^=NVPQO
Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           NMLNOLOMOM
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


           NMLNOLOMOM
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
    elokb=pe^tk                                                                                              ^as^k`b=^rql=m^oqpI=fk`K=aL_L^=^as^k`b=^rql=m^oqp

    (b) County of Residence of First Listed Plaintiff                   aÉä~ï~êÉ                               County of Residence of First Listed Defendant                 aÉä~ï~êÉ
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                          (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3      Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                              of Business In This State

❒ 2    U.S. Government                    ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                   TORTS                            FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                          PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’     310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’     315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                   Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’     320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment               Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’     330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                   Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’     340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’     345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                 Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’     350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’     355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                         Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’     360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                              Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’     362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                               Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation             ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                   ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       u❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                 ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                 Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒     445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                               Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒     446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                               Other                    ❒ 550 Civil Rights                 Actions
                                     ❒     448 Education                ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                             ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                           Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                      Transfer                         Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             pÉÅíáçå=NVUN=EQOrp`NVUNFX=qáíäÉ=sff=EQOrp`OMMMF
VI. CAUSE OF ACTION Brief description of cause:
                                             sáçä~íáçåë=pÉÅíáçå=NVUNI=qáíäÉ=sff=~åÇ=m^=eìã~å=oÉä~íáçåë=^ÅíK
VII. REQUESTED IN     ❒                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE                                                                   DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
            NMLNOLOMOM
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                       APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                                  Save As...                                                                                                                   Reset
